Case 1:21-cv-02425-SEB-TAB Document 15 Filed 10/15/21 Page 1 of 2 PageID #: 31




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

LATOYA HUNTER,                                     )
                                                   )
              Plaintiff,                           )
                                                   )
       v.                                          )       CASE NO. 1:21-cv-02425-SEB-TAB
                                                   )
ENLIVANT MANAGEMENT CO LLC,                        )
      and                                          )
Parent BG OPCO TRS LLC                             )
                                                   )
                                                   )
              Defendants.                          )

              DEFENDANTS’ CORPORATE DISCLOSURE STATEMENT

       Under Federal Rule of Civil Procedure 7.1, Defendant Enlivant Management Co, LLC’s

parent company is Enlivant Master Mgmt Co. LLC, and Defendant Parent BG OPCO TRS LLC’s

parent company is Uprite BG Co. LLC. Both are privately held corporations. No publicly held

corporation owns more than 10% of any of these entities.

                                       Respectfully submitted,

                                       OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.

                                       By: s/ Scott James Preston
                                           Scott James Preston, Atty. No. 25436-49
                                           111 Monument Circle, Suite 4600
                                           Indianapolis, Indiana 46204
                                           Telephone: (317) 916-1300
                                           Facsimile: (317) 916-9076
                                           scott.preston@ogletree.com

                                           Attorney for Defendants Enlivant Management Co.
                                           LLC and Parent BG OPCO TRS LLC
Case 1:21-cv-02425-SEB-TAB Document 15 Filed 10/15/21 Page 2 of 2 PageID #: 32




                                CERTIFICATE OF SERVICE

        I hereby certify that on October 15, 2021, a copy of the foregoing Defendants’ Corporate
Disclosure Statement was filed electronically with the Court. Notice of this filing will be sent to
the following by operation of the Court’s electronic filing system. Parties may access this filing
through the Court’s system.

                                        Amber K. Boyd
                                        Sarah E. Larimer
                                   amber@amberboydlaw.com
                                   sarah@amberboydlaw.com


                                                     s/ Scott James Preston



OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
111 Monument Circle, Suite 4600
Indianapolis, IN 46204
Telephone: 317.916.1300
Facsimile: 317.916.9076
scott.preston@ogletree.com


                                                                                          48802196.1




                                                2
